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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

PHILLIP MCFADDEN AND JOHN
DEFRANZA,
individually and on behalf of all others
similarly situated,

                     Plaintiffs,

        v.                                                Case No. 1:23-cv-06151

FENIX INTERNET and FENIX
INTERNATIONAL LIMITED,

                     Defendants.



                 DEFENDANTS’ MOTION TO DISMISS UNDER
             FORUM NON CONVENIENS OR, IN THE ALTERNATIVE,
        UNDER FEDERAL RULES OF CIVIL PROCEDURE 12(b)(2) AND 12(b)(6)

        Pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6), Defendants Fenix

International Limited and Fenix Internet respectfully move to dismiss Plaintiffs’ Complaint under

forum nonconveniens, or in the alternative, for lack of personal jurisdiction and failure to state a

claim upon which relief can be granted. The grounds for this motion are set forth in the

accompanying Memorandum. 1


Dated: December 18, 2023                                  Respectfully submitted,
                                                          By: /s/ Matthew L. Kutcher

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1
 On December 12, 2023 Defendants filed an Agreed Motion for Extension of Pages in Briefing on Defendants’
Motion to Dismiss. ECF 19.

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